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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,
                                                       Civil Action No. 2:17-cv-193
                      Plaintiff,
           v.
                                                       JURY TRIAL DEMANDED
NIKON, INC.,
                      Defendant.

              NOTICE OF DISMISSAL PURSUANT to RULE 41(a)(1)(A)(i)


       Display Technologies, LLC (“Plaintiff”), pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby gives notice of dismissal of the above-captioned action, with prejudice,

with each party to bear its own costs, attorneys’ fees and expenses. The defendant has not

answered or filed a motion for summary judgment, therefore no order is required under the Rule.



                                            Respectfully submitted,

                                            /s/ Thomas C. Wright
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                                            ATTORNEY FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 14th day of June, 2017, all counsel of record are
being served with a copy of this document through the Court's CM/ECF system.


                                           /s/ Thomas C. Wright
                                           Thomas C. Wright




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